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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                               )
                                                               )
In re:                                                         ) Chapter 7
                                                               )
ALEXANDER E. JONES,                                            ) Case No. 22-33553 (CML)
                                                               )
                         Debtor.                               )
                                                               )

       JOINT OBJECTION OF THE SANDY HOOK FAMILIES TO JONES’S
    CONTINUANCE MOTION AND SUPPLEMENTAL CONTINUANCE REQUEST

         The Connecticut Families1 and the Texas Families2 (collectively, the “Sandy Hook

Families”), as creditors and parties in interest in the above-captioned case, file this objection to

the Continuance Motion3 and the Supplemental Continuance Request4 filed by Alexander E.

Jones (“Jones”). In support hereof, the Sandy Hook Families respectfully state as follows:

         1.      Jones’s last-ditch effort to delay a hearing on the Proposed Settlement5 through

his Continuance Motion and Supplemental Continuance Request should be denied. At this time,

counsel to the Connecticut Families are traveling from New York to Houston to attend the

hearing scheduled for January 23 on flights that are scheduled on time. Notwithstanding Jones’s

assertions that counsel will be unable to attend tomorrow’s hearing in person due to inclement

1   The “Connecticut Families” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian
    Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto,
    Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
2   The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate
    of Marcel Fontaine.
3   The “Continuance Motion” refers to the Alexander E. Jones Expedited First Motion for Continuance and for
    Expedited Discovery [Docket No. 1022].
4   The “Supplemental Continuance Request” refers to the Alexander E. Jones Expedited Supplemental Request
    and Motion for Continuance of the Hearing Now Set for January 23, 2025 at 9:00 AM in Houston, Texas
    [Docket No. 1032].
5   The “Proposed Settlement” refers to the settlement by and between the Connecticut Families, the Texas
    Families, and the Chapter 7 Trustee (the “Trustee”), embodied in the Trustee’s Expedited Motion for Entry of
    an Order (I) Authorizing and Approving the Settlement By and Between the Chapter 7 Trustee, the Connecticut
    Families, and the Texas Families and (II) Granting Related Relief [Docket No. 1011] (the “Proposed Settlement
    Motion”).
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weather in the Houston and Austin areas, as set forth below, there are numerous on-time flights

scheduled for today from Austin to Houston, including flights that have already departed Austin

and arrived in Houston.




       2.      Further, Jones has had ample time to evaluate and oppose the Proposed

Settlement—he filed a 42-page Objection setting forth the various grounds for his opposition.

And Jones’s counsel agreed yesterday to participate in a remote deposition of the Trustee today,

but Jones’ counsel inexplicably failed to appear at such deposition.

       3.      Moreover, Jones’s attorneys were present before this court (the “Court”) on

January 13—several days after the Proposed Settlement Motion was filed—and consented to a

hearing on January 23 to consider the Proposed Settlement Motion (the “Hearing”). Indeed,

the Hearing was set on such date to accommodate the schedule of Jones’s counsel. Not once did

Jones’s counsel voice any objection to holding the Hearing on such date.

       4.      Similarly, the notion that additional discovery on the Proposed Settlement

justifies moving the Hearing is a thinly-veiled attempt to—at best—delay and frustrate this

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settlement. First, Jones waited until three days before the Hearing to even request discovery—

which, by itself, is fatal to any argument that his “due process” is somehow being denied.

Second, as set forth above, a deposition of the Trustee—the individual who entered into the

Proposed Settlement on behalf of the Jones estate—was scheduled to proceed remotely on

January 22. While counsel to the Trustee, the Connecticut Families, and the Texas Families each

appeared at the deposition, Jones now states in the Supplemental Continuance Request that

the deposition of the Trustee needs to be re-scheduled.

       5.      No other discovery is necessary or has been pursued by Jones. While Jones

sought—for the first time on January 20 (10 days after the Proposed Settlement Motion was filed

and only three days before the Hearing)—to depose representatives of the Sandy Hook Families,

counsel to the Sandy Hook Families have opposed such requests and Jones has done nothing to

pursue such (irrelevant) discovery.

       6.      Finally, there is also no reason to align a hearing on the Proposed Settlement

Motion with a hearing on Jones’s recently-filed motion for the Court to reconsider its

non-dischargeability rulings issued over 14 months ago.6 The issues raised in these motions are

distinct and easily separable, and the Proposed Settlement reserves all parties’ rights in respect of

the dischargeability of the Sandy Hook Families’ claims. The Connecticut Families will file an

opposition to the reconsideration motion on February 4, as required by the applicable local rules.

The Court should decline Jones’s pretextual attempt to link these two pending motions.

       7.      Accordingly, the Sandy Hook Families request that this Court overrule

the Continuance Motion and the Supplemental Continuance Request, and proceed with

the Hearing as planned for tomorrow.


6   See Memorandum Decision on Connecticut Plaintiffs’ Motion for Summary Judgment Against Jones
    [Docket No. 76].

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Dated: January 22, 2025                          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing objection and reply has been
served on counsel for Jones and all parties receiving or entitled to notice through CM/ECF on
this 22nd day of January, 2025.

                                                     /s/ Ryan E. Chapple
                                                     Ryan E. Chapple




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